
¶ 1 Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen, Stephens, González and Yu, considered at its February 5, 2019, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That both the petition for review and the "Motion to Seal, Motion to Keep Name/Image/Video and Audio Recordings Out of Record, Motion to Close the Court-room, Motion to Protect, and Motion to Replace Name With Initials" are denied.
For the Court/s/ Fairhurst, C.J. CHIEF JUSTICE
